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                         EXHIBIT B
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                                                                                                            LULUL E M O N 2020 I M PACT AGENDA
Be human.
       Be well.



                                                                                       2020 Impact Agenda
  Be planet.


                                                                                                            IN T RODU CT IO N
                                                                                                                              1
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                            Be human.                         8     Advance a culture of Inclusion,
                                                                    Diversity, Equity, and Action.


                                                             11     Support our employees through
                                                                    whole-person opportunities.


                                                             14     Support the wellbeing of the
                                                                    people who make our products.




                            Be well.                         21     Scale inclusive access to
                                                                    wellbeing tools.




                            Be planet.                       27     Innovate sustainable
                                                                    materials.


                                                             31     Create circularity through
                                                                    new guest models.


                                                             33     Act on climate change and
                                                                    renewable energy.


                                                             35     Use less water and better




                                                                                                      IN T RODU CT IO N
                                                                    chemistry.


                                                             37     Make waste
                                                                    obsolete.
                                                                                                                    2
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 We




                                                                                                                                                               LULUL E M O N 2020 I M PACT AGENDA
are
    all
                         A NOTE FROM OUR CEO


                         Thank you for your interest in our social and environmental         I am grateful to the many voices across our global
                         commitments and strategy—our Impact Agenda. I am proud              collective who have contributed their knowledge, expertise,
                         to introduce the work lululemon has been engaged in—and             and experience to help us define our approach. As a global
                         the goals that we have set—to contribute to a healthier world.      brand, as an industry, and as individuals, we all have a part




  in.
                                                                                             to play and we have considerable work to do. In all, we are
                         We share our strategy against the backdrop of the COVID-19          better together.
                         pandemic, a global climate crisis, and systemic inequities in
                         our society. The world is calling on us all to learn, act, and do   Our Impact Agenda is more than a set of commitments.
                         better for future generations.                                      It embodies our way of being, guided by our purpose to
                                                                                             elevate the world by realizing the full potential within every
                         In formulating our Impact Agenda, we started with a simple          one of us. It is achieved through a regular practice of mindful
                         and challenging question: How might we create and                   choices, and is rooted in the belief that our collective
                         accelerate meaningful, positive change?                             actions drive meaningful change.

                         As a global brand rooted in yoga and mindfulness,                   This journey will not always be smooth, and we don’t have all
                         lululemon has a unique opportunity, responsibility, and             the answers. But, we commit to continuous progress, adapting
                         platform. One of our core values, connection, plays a critical      through uncertainty, and welcome opportunities for dialogue
                         role in the wellbeing of people and planet, mind and body,          and perspectives that inform future action.
                         and individual and collective. When we focus on one,
                         we also impact another.

                         Connection is the foundation of our Impact Agenda.




                                                                                                                                                               IN T RODU CT IO N
                         Grounded in a holistic approach that reflects who we are,
                         our strategy is based on three interconnected pillars that lay
                         the groundwork for how we will create a more sustainable,           Calvin McDonald
                         compassionate future: be human, be well, and be planet.             Chief Executive Officer

                                                                                                                                                                             3
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Our Impact                                                         lululemon is a brand rooted in sweaty




                                                                                                                                   LULUL E M O N 2020 I M PACT AGENDA
                                                                   pursuits and personal growth, and our

Strategy                                                           purpose is to elevate the world by realizing
                                                                   the full potential within every one of us.




In this moment, we see possibility within each of us to            Our Impact Agenda is organized into three interconnected
reflect on our priorities, evolve our strategies, and act boldly   pillars, each with a vision for success, goals, and
to contribute to a better world.                                   commitments and strategies:

The costs of inaction are high. The global community
must be more resilient in the face of global crises, including     Be human. Our people succeed because we create an
addressing inequity and turning the tide on climate change.
To achieve a better and more sustainable future for all,           environment that is equitable, inclusive, and fosters growth.
we must accelerate progress in meeting the global
challenges we all face, as outlined by the United Nations
Sustainable Development Goals for 2030.                            Be well. Our communities thrive because we contribute
That’s why we’re bringing a new level of ambition to               to conditions that support mental, physical, and
our impact work: to be responsible and do what’s right.
To activate the innovators and enable the doers. To create         social wellbeing.
the space for each of us to make a difference, take action,
and change the world for the better.
                                                                   Be planet. Our products and actions avoid environmental
This Impact Agenda is our stake in the ground toward an
equitable, sustainable future. Developed through internal          harm and contribute to restoring a healthy planet.
and external engagement, it is rooted in the social and
environmental contexts in which we operate and the societal
issues that matter most for our business and industry.             We have a long way to go to meet our goals. We’ll scale
Our first holistic impact strategy, this agenda outlines our       our successes, learn from our setbacks, and will report
commitments to improve environmental impact, contribute            on our environmental, social, and governance progress
to a healthier future, and create long-term value. It creates      at least annually.




                                                                                                                                   I NT RO DUCT I ON
a path for change for our employees, guests, and
communities that is grounded in who we are as a brand,             Together, we will learn from today and build a healthier
building on our values, progress, and learnings over the           future—for ourselves, for our communities, and for
past two decades.                                                  our planet.
                                                                                                                                                4
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A Dozen Goals                            These are some of our goals going forward. They are




                                                                                                 LULUL E M O N 2020 I M PACT AGENDA
                                         the foundation of our strategic vision to minimize

for the Future                           negative impact and contribute to a healthier future.




                                                                                                 IN T RODU CT IO N
                                                                                                               5
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Be human.                                                      Be well.                                    Be planet.




                                                                                                                                                        LULUL E M O N 2020 I M PACT AGENDA
01 	INCLU S I ON, D I V E R SIT Y, E Q UIT Y, A N D ACTIO N   05 	WEL L B EI N G FO R A L L              08 	 SUSTAINABLE P RODUCT INNOVAT ION

    Reflect the diversity of the                                   Provide access to wellbeing tools for       Make 100 percent of our products
    communities we serve and operate                               more than 10 million people by 2025.        with sustainable materials and end-
    in around the world by 2025.                                                                               of-use solutions, toward a circular
                                                               06 	 S CA L E ACCES S
02 	EM PLOYEE LEA DE R SH IP O P P O RTUN ITIE S
                                                                                                               ecosystem by 2030.
                                                                   Invest US $75 million to advance
    Be the place where people come to                              equity in wellbeing in our global and   09 	 SUSTAINABLE M AT ERIALS
    develop and grow as leaders for the                            local communities by 2025.                  Achieve at least 75 percent
    world by 2023.                                                                                             sustainable materials for our products
                                                               07 	 LULUL EMO N .O RG
0 3 	EM PLOYEE PAY E Q UIT Y                                                                                  by 2025.
    Expand gender pay equity to full pay                           Establish a lululemon centre of
                                                                                                           10 	 C IRC UL ARIT Y
    equity by 2022.                                                excellence for social impact to
                                                                   support wellbeing by 2021.                  Offer our guests new options to extend
04 	PE OPLE WH O M A K E O UR P R O D UCTS                                                                    the life of our products by 2025.
    Achieve Fair Labor Association (FLA)
                                                                                                           11 	 C LIM AT E C HANGE
    accreditation, and make empowerment
    programs available to more than                                                                            Source 100% renewable electricity
    100,000 makers across our supply                                                                           to power our own operations by 2021,
    chain by 2025.                                                                                             and reduce carbon emissions across
                                                                                                               our global supply chain by 60 percent
                                                                                                               per unit of value added, meeting our
                                                                                                               Science-Based Targets by 2030.

                                                                                                           1 2 	WAT ER & WAST E

                                                                                                               Reduce freshwater use intensity
                                                                                                               by 50 percent to manufacture our
                                                                                                               products, and reduce single-use




                                                                                                                                                        IN T RODU CT IO N
                                                                                                               plastic packaging by 50 percent
                                                                                                               by 2025.
                                                                                                                                                                     6
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Be human.   Our people succeed because




                                                                                                       LULUL E M O N 2020 I M PACT AGENDA
            we create an environment that
            is equitable, inclusive, and
            fosters growth.


            FO CUS AREAS

            •	Advance a culture of Inclusion,
               Diversity, Equity, and Action

            •	Support our employees through
               whole-person opportunities

            •	Support the wellbeing of the
               people who make our products




                                                                                                       B E H UM A N.
                                                                                                                      7
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                                                                                                                                                                 LULUL E M O N 2020 I M PACT AGENDA
We envision an
equitable world.
At lululemon, we support our employees and ambassadors        We work together to support the wellbeing of the people        G OAL
in their unique journey to realize their full potential. We   who make our products. We take seriously our responsibility
are taking tangible steps to create an inclusive work         to run our business in an ethical way, a responsibility that
environment so that everyone has equitable access to          extends to our manufacturing partners and suppliers. We
                                                                                                                             By 2025, the lululemon workforce
opportunities and feels welcome, respected, and valued.       uphold robust standards, collaborate to address systemic       will reflect the diversity of the




                                                                                                                                                                 B E H UM A N.
Through this work, we will live up to our purpose and         challenges, and support the safety and
empower a diverse, thriving collective1 to make a bold        wellbeing of our makers.
                                                                                                                             communities we serve and operate
impact on the world.                                                                                                         in around the world.
                                                                                                                                                                              8
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                                                                                            LULUL E M O N 2020 I M PACT AGENDA
                                         Advance a Culture
                                         of Inclusion,
                                         Diversity, Equity,
                                         and Action.
                                         We are listening, learning, and taking action
                                         to eliminate barriers to equity so that everyone
                                         has a sense of belonging, a responsibility to




                                                                                            B E H UM A N.
                                         contribute to an inclusive culture, and the
                                         agency to act.
                                                                                                         9
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                                                                                                                               Global
OUR APPROACH
                                                                 Dialogue, learning, and




                                                                                                                                                             LULUL E M O N 2020 I M PACT AGENDA
                                                                 development.
We aspire to create an environment where everyone
can thrive, make an impact, and be celebrated. A diverse,        We will expand our learning and development
                                                                                                                               representation:
inclusive, and equitable global organization leads to            offerings to support IDEA.
cultivating better decisions, individual and shared growth,
increased resilience and adaptability, and a deeper
understanding of the communities we serve. To power real
and lasting change, we’re investing in Inclusion, Diversity,
                                                                 Change begins with understanding, and we invite our
                                                                 collective to bring their experience and skills to help
                                                                 evolve our actions. We commit to ongoing dialogue and
                                                                                                                               19,000+
Equity, and Action (IDEA) with a commitment to meaningful        IDEA discussions, especially between underrepresented         Total employees
transformation, which means we’re not just checking boxes.       and marginalized members of our collective and our
We’re focused on shifting our own mindsets and behaviour         Senior Leadership Team. To continue learning and holding


                                                                                                                               506
with the goal of living our core value of inclusion every day.   ourselves accountable, we have created employee-led
                                                                 resource groups and a global ambassador advisory
                                                                 committee to set the pace for change. We offer IDEA
WHAT WE ’RE D OING                                               education, training, and guided conversations for all
                                                                                                                               Stores
                                                                 employees on a variety of topics, including anti-racism,
                                                                 anti-discrimination, and inclusive leadership behaviours.
Reflect the diversity of
our communities.
We will increase diverse representation among our
                                                                 Inclusive culture.
                                                                 We are embedding IDEA into everything we do so
                                                                                                                               17
senior leaders, employees, and collective to reflect the         that it becomes a mindset woven into our culture              Countries
communities we serve and operate in around the world.            and experiences.

Increasing representation starts with understanding              We foster a culture of inclusion by making IDEA part of
employee and community demographics.2 We will                    our everyday conversation. We continually review our
regularly assess and publish this data. We are committed         policies, programs, and practices, and we identify ways to
to supporting the career progress of our diverse talent,         be more inclusive and equitable. This includes the creation
increasing access to internal opportunities and professional     of inclusive and accessible product assortments and
development, as well as attracting talent through a global       experiences for our guests and communities.
internship program in partnership with educational
institutions. When it comes to recruitment and hiring, we’ve
reviewed our practices. We are training our teams to mitigate
unconscious bias, and as of 2020, we require a diverse pool
of candidates to be interviewed for each role.




                                                                                                                                                             B E HU M AN .
                                                                                                                               Data as of September, 2020.

                                                                                                                                                             10
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                                                                                                          LULUL E M O N 2020 I M PACT AGENDA
Spotlight
on Inclusive
Product
A next step.
Our inclusive product assortment celebrates bodies in all forms.

This year, we’re taking an important first step of evolving our sizing and
fit offerings, starting with introducing sizes 0-20 in our top six women’s
styles. As always, our focus on fit is uncompromising, so our guests can
expect the same technical and beautiful design, quality, comfort, and
performance across every new product and size offering.

We’ve also introduced size 14 within core bra styles and offer support
up to a 40DD/38E. And, we’re adding new sizing and fits to our men’s
assortment, including offering a 46” waist in our ABC Classic Pant as
well as new inseam lengths across our On The Move, Run, and Train
categories, with plans to roll out sizes XS-3XL across select styles
online by late 2021.

This is just the beginning. We’ll continue to add new size and fit
offerings every season going forward.




                                                                                                          B E H UM A N.
                                                                                                                11
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                                                    G OA L S




                                                                                                      LULUL E M O N 2020 I M PACT AGENDA
                                                    By 2023, we will be the place where
                                                    people come to develop and grow
                                                    as leaders for the world.

                                                    We will expand gender pay equity
                                                    to full pay equity by 2022.




                                                    Support our
                                                    employees
                                                    through
                                                    whole-person
                                                    opportunities.
                                                    We understand that health and wealth
                                                    programs need to offer choice at all stages
                                                    of life. That’s why we’re committed to bringing
Be human




                                                                                                      B E H UM A N.
                                                    innovative, customized, and competitive
                                                    offerings to our people globally.
                                                                                                        12
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                                                                                                                                  Female
OUR APPROACH
                                                                  Mental wellbeing.




                                                                                                                                                                       LULUL E M O N 2020 I M PACT AGENDA
                                                                                                                                  representation:
                                                                  We will offer industry-leading mental wellbeing training
We commit to developing leaders, equitable compensation
                                                                  and benefits to all our employees globally by 2021.
practices, and ensuring our people have the right support
at the right time.
                                                                  We take a holistic approach to supporting mental


                                                                                                                                  78%
                                                                  wellbeing. Our Employee Assistance Program offers
                                                                  professional support for employees. We also offer personal
WHAT WE ’RE D OING
                                                                  resilience tools to employees, ambassadors, and suppliers
                                                                  In 2021, we’ll expand our existing psychological counselling
                                                                                                                                  Of employees
                                                                  benefits and offer mental wellbeing first-aid training to
Leaders for the world.                                            support conversations in the workplace. Recognizing that
We will be the place where people come to develop and             different groups of people require varying levels of support,
grow as leaders for the world.

We invest in every employee and team to create
                                                                  we continually review and calibrate our tools to
                                                                  offer inclusive approaches for wellbeing.                       >75%
conditions for people to discover their purpose and put                                                                           Female workers
it into practice, be it at lululemon or beyond. We care for
                                                                  Support for working parents.                                    in our supply chain
and support the whole person, wherever their journey              We empower parents of all genders to take time off to
takes them. Our commitment to developing leaders for the          focus on new family members.


                                                                                                                                  50%
world has three components. First, we build from a place of
strength; our development offerings begin by supporting           Our Parenthood Program is a gender-neutral benefit
people in uncovering and appreciating their strengths and         providing up to six months of paid leave for all levels of
uniqueness. Second, we invest in team co-creation with            employees around the globe, from educator to CEO.
                                                                                                                                  Of board of directors
the belief that diversity of experience, skill, and perspective
leads to meaningful innovation. Finally, we create intentional
opportunities for people to discover how they can leave a
                                                                  We stand together fund.
legacy for the world.


Pay equity.
                                                                  We stand together to offer short-term financial support
                                                                  for employees.                                                  60%
                                                                  Life isn’t always a straight road. At the beginning of the      Of senior leadership
Globally, we will expand gender pay equity to full pay            COVID-19 pandemic, we created our We Stand Together
equity by 2022.                                                   Fund to support employees facing significant financial
                                                                  hardship with relief grants for basic and critical needs.
As a global organization composed of 78 percent women,            Initially funded through executive contributions and
including 60 percent of our Senior Leadership Team and            employee donations, this program will continue to be
50 percent of our Board of Directors, we know that gender         funded by the company, with the ongoing opportunity
pay equity is imperative. In 2018, we achieved gender pay         for employees to contribute.
equity for every employee in our stores and support centres
globally. In 2020, we published our gender pay equity figures
and built gender pay equity into our annual compensation
process. We are proud of this progress and know that full
pay equity includes gender and race. We will achieve full pay




                                                                                                                                                                       B E HU M AN .
                                                                                                                                  Data as of September, 2020.
equity in 2022 and commit to maintaining                                                                                          More comprehensive employee
                                                                                                                                  demographic data will be published
it moving forward.
                                                                                                                                  by the end of 2021.

                                                                                                                                                                         13
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                                         G OA L




                                                                                               LULUL E M O N 2020 I M PACT AGENDA
                                         We will achieve Fair Labor
                                         Association (FLA) accreditation,
                                         and make empowerment programs
                                         available to more than 100,000 makers
                                         across our supply chain by 2025.




                                         Support the
                                         wellbeing of the
                                         people who make
                                         our products.
                                         Through our suppliers, tens of thousands
                                         of people are involved in manufacturing our
                                         products globally—and all our makers matter. We
                                         partner with our suppliers to create safe, healthy,




                                                                                               B E H UM A N.
                                         and equitable environments that support the
                                         wellbeing of the people who make our products.
                                                                                                14
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                                                                                                                             Our global
OUR APPROACH
                                                                  Worker empowerment and wellbeing.




                                                                                                                                                               LULUL E M O N 2020 I M PACT AGENDA
                                                                                                                             supply chain.
                                                                  We will make empowerment programs available to more
A responsible supply chain starts with the decisions we
                                                                  than 100,000 makers across our supply chain by 2025.
make. Just as our Global Code of Business Conduct and
Ethics lays out commitments for our brand, our Vendor
                                                                  We are invested in the wellbeing of the people who make
Code of Ethics is the foundation of our supplier partnerships.
                                                                  our products. Across our supply chain, our empowerment
The code adheres to international standards for working                                                                      FINISHED GOODS:
                                                                  programs will cover a range of issues, including human
conditions, workers’ rights, and environmental protection,

                                                                                                                             55                    15
                                                                  rights education, women in leadership, and practices for
and its implementation focuses on prevention, monitoring
                                                                  resilience and wellbeing.
and improvement. Beyond labour compliance, we are
committed to supporting worker wellbeing, building on
years of partnerships with our suppliers around workplace                                                                    Factories             Countries
practices and community support initiatives. Building on
these values, our commitments continually strengthen our
program and collective impact. Learn more here.


                                                                                                                             R AW M AT E R I A L S :
WHAT WE ’RE D OING


Responsible supply chain                                                                                                     65                    19
and FLA accreditation.                                                                                                       Fabric mills          Countries
We will achieve Fair Labor Association (FLA)
accreditation of our Responsible Supply Chain program

We continually elevate our program and impact, work in
partnership with our suppliers, and strive to take a systems-
level approach to influence change beyond our direct
supply chain operations. In 2020, we became a participating
                                                                                                                             180,000+
company of the FLA and are working to achieve FLA                                                                            Factory workers
accreditation for our Responsible Supply Chain program.


Fair compensation.
Responsible supply chain and FLA accreditation.                                                                              >75%
                                                                                                                             Female workers
We want every maker in our supply chain to receive fair
                                                                                                                             in our supply chain
compensation. We recognize that this can be achieved only
through multi-stakeholder collaboration. Our strategy is
rooted in collaboration, shared data, and joint pilot projects.




                                                                                                                                                               B E H UM A N.
                                                                                                                             Data as of April, 2020.

                                                                                                                                                                 15
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                                                                                                         LULUL E M O N 2020 I M PACT AGENDA
Spotlight on
Our Supply
Chain
Better Together.
We’re partnering for real, lasting change in our supply chain.

Moving the needle on systemic issues can happen only in partnership.
The development and implementation of our Foreign Migrant Worker
Standard is no exception. It outlines our expectations with respect to
foreign migrant workers, including a commitment to ensuring that
workers will no longer pay hiring fees, a long-standing practice in the
garment industry.

Initially, we rolled out the standard in Taiwan and engaged with our
vendors to understand and raise awareness of ethical recruitment
and some of the unique challenges faces by foreign migrant workers.
Together we created a two-year program that included collective
dialogue and problem solving and the development of tools necessary
to effectively implement “no fees” road maps. By the end of the
program, our Taiwanese vendors had eliminated worker-paid fees,
with the exception of one that is still working on implementation.
This benefitted approximately 2,700 foreign migrant workers.

Based on lessons learned, we are now scaling this program
beyond Taiwan.




                                                                                                         B E H UM A N.
                                                                                                          16
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Be human




                                                                                                                                                                                       LULUL E M O N 2020 I M PACT AGENDA
partnerships.
We collaborate with industry
groups, NGOs, and governments
to create change.




Fair Labor                                                   Responsible                                                  Social and Labour
Association                                                  Labor Initiative                                             Convergence Program
Brings together universities, civil society organizations,   A program of the Responsible Business Alliance, a multi-     Brings together unique perspectives as an opportunity




                                                                                                                                                                                       B E H UM A N.
and companies to find sustainable solutions for improving    stakeholder, multi-industry initiative focused on ensuring   to create an efficient, scalable, and sustainable solution
workers’ lives worldwide.                                    that the rights of workers who are vulnerable to forced      for social audits.
                                                             labour are respected and promoted consistently.
                                                                                                                                                                                          17
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Be well.   Our communities thrive because




                                                                                                      LULUL E M O N 2020 I M PACT AGENDA
           we contribute to conditions that
           support mental, physical, and
           social wellbeing.


           FO CUS AREAS

           •	Scale inclusive access to wellbeing tools




                                                                                                      BE WELL .
                                                                                                       18
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                                                                                                                                                                          LULUL E M O N 2020 I M PACT AGENDA
Everyone has the
right to be well.
Yet globally, more people are facing stress and anxiety in         As a brand rooted in movement, mindfulness, and connection,       G OAL
their everyday lives, exacerbated by COVID-19, social injustice,   we know these practices have the power to support mental,
and environmental anxiety. At lululemon, we’re committed           physical, and social wellbeing.3 To support the critical need
to wellbeing for all. When we all have the tools, resources,       for wellbeing, we are providing access to tools for at least 10
                                                                                                                                     By 2025, we will provide access to
and agency to be well, we can realize our full potential and       million people globally, including our guests, suppliers, and     wellbeing tools for more than 10
contribute to a healthier future.                                  members of our communities.
                                                                                                                                     million people.




                                                                                                                                                                          B E W EL L .
                                                                                                                                                                           19
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                                                                                                          LULUL E M O N 2020 I M PACT AGENDA
Spotlight
on Mental
Wellbeing
Being well.
Our ongoing commitment to elevating mental wellbeing.

As a brand focused on investing in and empowering the whole person,
we know that for people to realize their full potential they need to be well.
In today’s world, mental wellbeing support is needed more than ever.

By 2021, we are committed to offering our people leading mental health
benefits, such as real-time psychological first aid support to critical
incidents as well as mental health first aid training to managers to
ensure they are equipped to support mental wellbeing conversations.
Going forward, we’ll continue the journey to deepen our understanding of
mental wellbeing and support dialogue as well as access to tools inside
and outside our organization.




                                                                                                          BE WELL .
                                                                                                          20
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                                         G OA L S




                                                                                           LULUL E M O N 2020 I M PACT AGENDA
                                         By 2025, we will invest
                                         US $75 million to advance
                                         equity in wellbeing in our global
                                         and local communities.

                                         By 2021, establish a lululemon
                                         centre of excellence for social
                                         impact to support wellbeing.




                                         Scale inclusive
                                         access to
                                         wellbeing tools.
                                         We believe that to build a healthier, equitable
                                         future, we must all have the tools, resources,
                                         and agency to be well. Supported by research
                                         and evidence-based practices, we embrace
                                         movement, mindfulness, and advocacy as




                                                                                           BE WELL .
                                         necessary building blocks for wellbeing.
                                                                                             21
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                                                                                                                             Impact since
OUR APPROACH
                                                                Peace on Purpose for




                                                                                                                                                     LULUL E M O N 2020 I M PACT AGENDA
                                                                humanitarian workers.
We support communities that face economic, social, or
cultural barriers by partnering with organizations that         We will offer continued support for Peace on Purpose,
                                                                                                                             2016:
embrace movement and mindfulness practices and                  created in partnership with the United Nations
advocate for social justice. We support our guests by           Foundation, to provide mindfulness tools to UN
offering tools and experiences directly.                        humanitarian workers.

                                                                Working on the front lines of global crises and natural
                                                                                                                             575+
WHAT WE ’RE D OING                                              disasters, UN staff report high rates of burnout, stress,    Nonprofit and
                                                                compassion fatigue, and mental health stigmas in their       supplier partners
                                                                work. Peace on Purpose is an evidence-based and trauma-
Establish lululemon.org                                         informed program that equips UN workers with mindfulness


                                                                                                                             500,000
                                                                resources to support their mental, physical, and emotional
In 2021, we will establish a lululemon centre of
                                                                wellbeing. To date, Peace on Purpose has reached
excellence for social impact.
                                                                humanitarian employees in 11 countries through in-person
                                                                workshops and in 87 countries through digital workshops.4
The lululemon centre for social Impact will unify and amplify                                                                People reached
                                                                In 2020, we launched mindfulness tools in partnership
existing social impact programs such as Here to Be and
                                                                with Insight Timer, a global meditation app. Our goal for
innovate new programs to advance equity in wellbeing in our
                                                                the future is to support the UN in reaching 30,000 UN

                                                                                                                             3,500
communities. We will invest US $75 million over the next five
                                                                humanitarian employees by 2022 and to scale access
years, driving impact through direct funding, partnerships,
                                                                to other global relief organizations by 2025.
co-creation, and advocacy.
                                                                                                                             Yoga teachers trained
Scaling Here to Be.                                             Guest-facing experiences
We will scale Here to Be, our flagship social                   and offerings.
impact program.

In 2016, we launched our social impact program and
                                                                We will launch personal development experiences and
                                                                offerings for our guests to introduce key concepts around
                                                                emotional fitness and mental wellbeing.
                                                                                                                             40,000
committed $25 million USD over five years to partner with                                                                    Yoga mats donated
nonprofit organizations that create equitable access to
                                                                Since our inception, lululemon has offered products for
yoga, running, and meditation. This year, in response to a
                                                                physical movement. While sweat, personal development,

                                                                                                                             3
growing need for wellbeing we took action to scale Here
                                                                and connection are the foundations of our brand, to date
to Be and deepen its impact. We evolved its mission with a
                                                                our personal development offerings have been for our
clear focus on equity. We expanded partnerships to include
                                                                employees and ambassadors. In 2020, we designed and
organizations that advocate for social justice.
                                                                are piloting bespoke development tools and experiences       Changemaker
                                                                for guests to enjoy as part of our membership program.       summits hosted
The program provides support that includes funding,
                                                                We’ll expand these into the future through evidence-based
connection to tools and resources, and amplification across
                                                                and science-informed tools and other offerings to build a
our platforms. Through partnerships in regions where we
                                                                practice for emotional fitness and mental wellbeing.
operate, we’ll scale our reach and impact.




                                                                                                                                                     BE WELL .
                                                                                                                                                     22
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                                                                                                                  LULUL E M O N 2020 I M PACT AGENDA
         Spotlight on
         Here to Be
         Collective impact.
         A snapshot of our Here to Be partners.

         Every community around the world is different, and what each one
         needs to create access to movement and mindfulness practices differs,
         too. That’s the approach our Here to Be nonprofit and vendor partners
         take to their work.

         In Washington State, USA, Yoga Behind Bars is reimagining the criminal
         justice system by offering trauma-informed yoga classes to incarcerated
         youth and adults and 200-hr yoga teacher trainings in prisons. In Hong
         Kong, the YAMA Foundation offers free or subsidized outreach yoga
         programs for people in their community with disabilities or chronic illness
         or who are facing other barriers to wellbeing. Meanwhile, one of our
         supplier partners in Peru, Textil Del Valle, created a yoga program for its
         employees that includes offering biweekly yoga sessions in a dedicated
         space outside the factory. The company also implemented a program that
         provides bicycles for staff to safely get
         to its factory in Chincha Alta, and to encourage wellbeing through
         daily movement.

         Different communities, different solutions—but the same healing power
         of movement and mindfulness.




                                                                                                                  BE WELL .
PHOTO CREDIT: ALEX CLARK                                                                                          23
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Be planet.   Our products and actions




                                                                                                        LULUL E M O N 2020 I M PACT AGENDA
             avoid environmental harm and
             contribute to restoring a healthy
             planet.


             FO CUS AREAS

             •	Innovate sustainable materials

             •	Create circularity through new
                guest models

             •   Act on climate and renewable energy

             •   Use less water and better chemistry

             •   Make waste obsolete




                                                                                                        B E P L A NE T.
                                                                                                        24
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                                                                                                                                                                    LULUL E M O N 2020 I M PACT AGENDA
Our lives are one with
the health of our planet.
We envision a future where we thrive within the limits of our   imperative to act on climate change, and we’ve set ambitious,   G OA L
one planet. That is why we act to avoid environmental harm      science-based carbon targets that are linked to all of our Be
and contribute to restoring a healthy planet.                   Planet goals.
                                                                                                                                By 2030, we will make 100
At lululemon, we create products and experiences that           By transforming our materials and products, guest               percent of our products with
reflect the values of our guests and our aspirations for a      experience models, and supply chains and by partnering
healthier world.                                                with our collective, suppliers, and industry stakeholders, we
                                                                                                                                sustainable materials and end-of-
                                                                take responsibility to help evolve our industry toward a more   use5 solutions, toward a circular
We will work to be part of a circular ecosystem, based on       sustainable future—one that is truly better for our planet.
                                                                                                                                ecosystem.




                                                                                                                                                                    B E P L A NE T.
principles of designing out waste and pollution, keeping
products and materials in use, regenerating natural systems,    We know we have a long way to go, but we’re committed to
and using clean renewable energy.6 Underlying is the            accelerating our progress and being part of the solution.
                                                                                                                                                                    25
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                                         G OA L




                                                                                               LULUL E M O N 2020 I M PACT AGENDA
                                         By 2025, we will achieve at least
                                         75 percent sustainable materials
                                         for our products—including fibres
                                         that are recycled, renewable,
                                         regenerative, sourced responsibly,
                                         or some combination thereof,7
                                         and/or are manufactured using
                                         low-resource processes.8




                                         Innovate
                                         sustainable
                                         materials.
                                         Extracting and processing virgin materials takes
                                         a toll on land, water, and air. Our fabrics account
                                         for roughly 50 percent of our carbon impacts,
                                         not including guest use. That’s why materials




                                                                                               B E P L A NE T.
                                         innovation is the cornerstone of our journey to
                                         a more sustainable future.
                                                                                               26
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OUR APPROACH




                                                                                                                                  LULUL E M O N 2020 I M PACT AGENDA
                                                                  for our guests. This is by far our most challenging
                                                                  materials goal, requiring collaboration with innovators
Our intent is to design all our products for long-lasting         and supply chain leaders for industry solutions, internal
performance, beauty, and sustainability. We adopt better          test-and-learn programs to achieve our standard-setting
fibres, evolve manufacturing processes, innovate net              performance, and scaling across our major product
new materials, and engage industry collaborations to              platforms. In 2020, we formed an internal team dedicated
help evolve collective solutions. And we assess impacts           to this work, and we’re investing resources in strategic
using the Sustainable Apparel Coalition Higg Materials            innovation partnerships. We’re also committed to evolving
Sustainability Index (Higg MSI) and select life-cycle analysis    elastane—an important component in our stretch product—
methodologies. Our goal is for all our materials to come from     toward renewable sources.
traceable sources.

                                                                  Cotton.
WHAT WE ’RE D OING
                                                                  All the cotton we source—100 percent—will be from
                                                                  responsible platforms—including organic, Better Cotton
                                                                  Initiative (BCI), recycled, or regenerative—by 2025.
Polyester.
At least 75 percent of the polyester we source will be            Responsible cotton choices reduce water and pesticide
recycled content (with a stretch goal of 100 percent)             use. For example, as a member of BCI, we’re committed to
by 2025.                                                          supporting the improvement of cotton farming practices
                                                                  globally.9
Compared with virgin polyester, recycled polyester made
from pre- and post-consumer fibres lessens our dependence
on fossil fuels and can reduce carbon emissions by over 30
                                                                  Animal-derived materials.
percent. We’ve transitioned franchises such as our Metal          A full 100 percent of our animal-derived materials will
Vent Tech 2.0—and are transitioning all core programs—to          be traceable or certified in line with our Animal-Derived
recycled polyester. To contribute to a sustainable supply         Materials Policy by 2025.
of recycled content for the future, we’ll invest in industry
development of fibre-to-fibre recycling.                          Since 2016, 100 percent of our down has been fully traceable
                                                                  and certified to meet the Responsible Down Standard.
                                                                  We are working toward responsibly sourced wool that is
Nylon.                                                            traceable and preferably certified by a third party, such as
We will transition all the nylon we source to renewable           the Responsible Wool Standard. We’ll continue to increase
or recycled content by 2030 and commit to launching               visibility and transparency for the rest of our supply chain.
alternative platforms by 2025.

We’ll accelerate the transition from virgin nylon to renewable,
                                                                  Forest-based materials.
recycled, or net new materials that reduce our dependence         We commit that 100 percent of our forest-based materials
on fossil fuels and lessen carbon emissions. While high-          will be third-party audited or certified by 2023.
performing nylon fibre makes up the biggest portion of our
fabric mix, today renewable and recycled nylon exists in          As of 2018, 100 percent of our forest-based cellulosic fibres
limited quantities. We’re challenging ourselves to innovate       are sourced responsibly, assessed through CanopyStyle




                                                                                                                                  B E P L A NE T.
and re-engineer our nylon materials into more sustainable         Audits. We’re transitioning all our yoga mats to natural
solutions that are uncompromising in feel and performance         rubber certified by the Forest Stewardship Council® (FSC).

                                                                                                                                  27
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                                                                                                         LULUL E M O N 2020 I M PACT AGENDA
Spotlight on
Sustainable
Innovation
Meet Mylo™.
Adopting new materials to create a sustainable future.

Our commitment to create a healthier environment comes with
investing in sustainable materials and developing unique alliances for
collective impact. We are a founding member of the Mylo Consortium,
an unprecedented group of forward-thinking global companies coming
together to contribute to a more sustainable future for fashion. Made from
renewable mycelium, MyloTM is an innovative material made using vegan
inputs, grown by expert mushroom farmers and scientists, that looks
and feels like leather. The process of making Mylo doesn’t involve raising
livestock or any of the associated greenhouse gases or material wastes,
minimizing environmental impact.

As leaders in product innovation, Mylo will allow us to continue creating
products that reflect the values of our guests and our aspirations for a
healthier world. We expect to start seeing a variety of Mylo applications
beginning in 2021.




                                                                                                         B E P L A NE T.
                                                                                                         28
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                                                                                                         LULUL E M O N 2020 I M PACT AGENDA
Spotlight
on Product
Development
Innovation in action.
Celebrating sustainability in product development.

Creating products that are better in every way requires an unwavering
commitment to sustainable innovation. We take seriously our
responsibility to lead by example.

On Earth Day 2020, we launched a water-wise version of our iconic
Wunder Unders made with solution dye, which uses over 75 percent
less water than traditional methods. Solution dye is used typically for
polyester, but we’re challenging ourselves to transfer this approach to
more complex nylon materials without compromising the feel, beauty,
or performance of our products.

Building on this momentum, we’re committed to launching new
sustainable innovations as we celebrate moments like Earth Day
moving forward.




                                                                                                         B E P L A NE T.
                                                                                                         29
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                                         G OA L




                                                                                               LULUL E M O N 2020 I M PACT AGENDA
                                         By 2025, we will offer our guests
                                         new options to resell, repair, and/or
                                         recycle our products, extending the
                                         life of our products.



                                         Create circularity
                                         through new
                                         guest models.
                                         We’re in the early stages of a transformation
                                         toward a circular ecosystem. Circularity inspires
                                         a whole new way of creating and accessing
                                         products—away from a linear approach and
                                         toward a creative and regenerative model that
                                         engages guests and keeps products in use as
                                         long as possible. It’s a significant challenge, but
                                         it’s also enormously exciting, because it sparks
                                         creativity and innovation across our value chain
                                         and industries, from design to textile collection
                                         services to fibre-to-fibre recycling innovation—




                                                                                               B E P L A NE T.
                                         we can only be successful through partnerships
                                         and evolution within the industry.
                                                                                               30
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OUR APPROACH




                                                                                                                    LULUL E M O N 2020 I M PACT AGENDA
Progress toward circularity requires new systems and
rethinking how we do things—internally and externally.


WHAT WE ’RE D OING


New guest options.
We will offer new models and options to our guests for
extending the lives of the products they love by reselling
the products to others by 2021.

As we learn from take-back and resell pilot projects in
North America, we’ll scale to new offerings and
international markets.


Circular design.
We’ll engage designers in bringing circularity to life through
training tools and innovation labs. By engaging design from
the beginning, we can evolve product creation and apply
design solutions that consider impacts throughout the
product life cycle.


Product recycling.
We’ll adapt infrastructure to take back products after first
use and recycle materials into a valuable next life, including
fibre-to-fibre. Internally, this requires evolving our logistics
and processes to take back products and offer extended
life solutions. Externally, this requires material collection and
processing infrastructure to enable products to be upcycled
into a next life at scale.




                                                                                                                    B E P L A NE T.
                                                                                                                      31
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                                         G OA L S




                                                                                            LULUL E M O N 2020 I M PACT AGENDA
                                         By 2021, we will source 100 percent
                                         renewable electricity for our own
                                         operations.

                                         By 2030, we will decarbonize our
                                         value chain, meeting ambitious,
                                         science-based targets.




                                         Act on climate
                                         change and
                                         renewable energy.
                                         Climate change is the defining challenge of
                                         our time. Humans produce more carbon dioxide
                                         than nature can absorb, and the apparel industry
                                         contributes to this problem. We’re working
                                         toward a carbon-neutral future, starting with




                                                                                            B E P L A NE T.
                                         cutting our own emissions across our value chain
                                         and supporting a global movement for action.
                                                                                            32
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OUR APPROACH
                                                                Carbon reduction.




                                                                                                                                  LULUL E M O N 2020 I M PACT AGENDA
                                                                We will implement strategies across our value chain to
In 2019, we created science-based targets approved by
                                                                drive carbon reduction and energy efficiency.
the Science Based Targets initiative.11 We’re implementing
strategies to invest in the transition to renewable energy,
                                                                In our own operations, we’re achieving energy efficiency
drive carbon reduction and energy efficiency across our
                                                                by building on existing initiatives like transitioning to LED
value chain, and collaborate across industries for progress.
                                                                lighting, performing data centre retrofits, and piloting energy
We report our carbon footprint to the CDP, an international
                                                                management systems in stores.
investor-facing nonprofit.
                                                                In our supply chain, we focus on a three-pronged strategy:
WHAT WE ’RE D OING
                                                                •	Source more sustainable raw materials and fibres
                                                                •	Engage our manufacturing partners to achieve energy
                                                                   efficiency improvements in manufacturing processes
Science-based targets.                                             and transition toward renewable energy
We will decarbonize our value chain, meeting ambitious,         •	Optimize logistics, including reductions in use of
science-based targets by 2030. Our specific targets are:           air freight

•	A 60 percent absolute reduction in greenhouse gas
   (GHG) emissions in all owned and operated facilities
                                                                Industry collaboration.
   (2018 base year)                                             As signatories of the UN Fashion Industry Charter for
•	A 60 percent intensity reduction of GHG emissions            Climate Action, we participate actively with our industry
   in purchased goods and services and upstream                 for shared solutions toward net zero carbon by 2050.
   transportation and distribution (2018 base year)
                                                                Our 10-year focus is on reducing our carbon emissions in
Interim targets and carbon reduction measures define our        line with the latest science and the Paris Agreement toward
roadmap to 2030, focusing on renewable energy, sustainable      a vision of net zero carbon by 2050.
materials and circularity, supplier engagement and
operational efficiency.


Renewable energy.
We will source 100 percent renewable electricity across
our direct operations by 2021.

We’ll achieve this in North America primarily through virtual
power purchase agreements and internationally through
certified renewable energy credits.




                                                                                                                                  B E P L A NE T.
                                                                                                                                  33
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                                         G OA L S




                                                                                      LULUL E M O N 2020 I M PACT AGENDA
                                         By 2025, we will reduce freshwater
                                         use intensity by 50 percent to
                                         manufacture our products.

                                         By 2022, our priority suppliers have
                                         implemented ZDHC Manufacturing
                                         Restricted Substances List
                                         (MRSL) and use better chemistry
                                         toward our goal of eliminating the
                                         discharge of harmful chemicals.




                                         Use less water
                                         and better
                                         chemistry.
                                         We use water wisely, avoid contributing to




                                                                                      B E P L A NE T.
                                         watershed stress, and innovate chemistry
                                         to create exceptional products.
                                                                                      34
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OUR APPROACH
                                                                Supplier chemicals management.




                                                                                                                                LULUL E M O N 2020 I M PACT AGENDA
Creating, processing, and dyeing materials requires clean       We will implement ZDHC Manufacturing Restricted
water—from 50 to over 100 litres per kilogram of fabric,        Substances List (MRSL) and wastewater guidelines
depending on the type of fibre.10 As part of the solution,      by 2022.
we’re assessing water limits in our supply chain and have
initiated projects with our suppliers to manufacture products   Foundational to our approach is our product Restricted
in ways that are radically more water-efficient. And we’ll      Substances List (RSL), which is aligned to the Apparel and
continue to elevate chemicals management and promote            Footwear International RSL Management Group guidelines.
the use of better chemistries to achieve the highest product    We also adopted the ZDHC MRSL and wastewater
performance, protect people and the environment, and            guidelines and will implement these across our supply chain
comply with regulation and industry standards.                  to achieve better and well-managed chemistry by 2022.
                                                                As a long-standing member of bluesign®, a system that
                                                                improves chemistry and environmental impacts throughout
WHAT WE ’RE D OING                                              the manufacturing process, we’ll continue to increase the
                                                                percentage of materials that are certified to internationally
                                                                recognized standards, including bluesign’s.
New dyeing techniques.
We will scale solution-dyed nylon, reducing water use by
at least 75 percent over traditional methods.

Developing innovative, water-wise solutions is one of
the avenues to using less fresh water to manufacture
our products. Solution-dyed nylon uses over 75 percent
less water than traditional dyeing techniques, and colour
pigment is added at the raw material stage to reduce both
water use and carbon emissions.


Water-reduction road map.
We commit to developing a water strategy by 2021.

We are creating a water strategy and road map informed by
a water scarcity assessment of our production locations, an
analysis of our baseline average water required to produce
our products, and an understanding of technology gaps and
opportunities to inform freshwater-reduction pathways. This
data will be used to refine our targets and measure progress
toward our reduction goal.




                                                                                                                                B E P L A NE T.
                                                                                                                                35
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                                         G OA L S




                                                                                      LULUL E M O N 2020 I M PACT AGENDA
                                         By 2025, we will reduce single-use
                                         plastic packaging by 50 percent.

                                         By 2023, we will achieve zero-waste
                                         distribution centres.




                                         Make waste
                                         obsolete.




                                                                                      B E P L A NE T.
                                         We want to make waste a thing of the past.
                                                                                      36
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OUR APPROACH




                                                                                                                  LULUL E M O N 2020 I M PACT AGENDA
The apparel industry has opportunities to reduce waste
across our value chain—in manufacturing, in stores and
distribution centres, and in our shipping and product
packaging.


WHAT WE ’RE D OING


Textile waste.
We are committed to finding the best reuse solutions
for our products.

For nearly 10 years, we’ve been recycling damaged products
that can’t be sold or donated, such as using them as fill
for boxing bags or as material for equestrian footing. Our
manufacturing processes are optimized to minimize textile
waste. We also donate excess fabric through charitable
partners whenever possible.


Distribution centres and stores.
We will achieve zero-waste distribution centres.

Today, four of our five lululemon-operated distribution
centres are zero-waste facilities, and our newest is about
to reach this milestone. Specific initiatives include our
Box Reuse program, which reduced the number of boxes
used by more than 1 million each year. Starting in 2021,
we’ll also evolve our store programs to minimize waste.


Sustainable packaging.
We will continue to develop and implement sustainable
packaging solutions.

Our Sustainable Packaging Policy focuses on eliminating
packaging where possible, using low-impact materials
(especially recycled and FSC-certified content) and
developing end-of-life solutions. Moving forward, we’ll




                                                                                                                  B E P L A NE T.
reduce polybags and mailers and improve reusable
shopping bags to achieve our goals.

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                                                                                                         LULUL E M O N 2020 I M PACT AGENDA
Spotlight
on Product
Circularity
Unrolling impact.
When it comes to our yoga mats, we’re putting our vision into practice.
Yoga mats are often referred to as the gateway to practice, and we’re
committed to providing the healthiest foundation for every practice.
Our Arise Mat is made with natural rubber that is sustainably sourced
and FSC certified.

To continue to reduce our impact, we’re in the process of elevating all
our yoga mats to FSC-certified natural rubber. All our damaged mats
that can’t be sold or donated are recycled into material for a premium
equestrian footing product called ReitenRight. Turns out the high-end
natural rubber we use in our mats is the perfect cushion and spring for
our four-legged friends.

This is just the beginning, with more to come on our journey
toward circularity.




                                                                                                         B E P L A NE T.
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Be planet




                                                                                                                                                                                   LULUL E M O N 2020 I M PACT AGENDA
partnerships.
We collaborate with industry
groups, NGOs, and governments
to create change.




UN Fashion                                                  Sustainable                                                   Canopy
Industry Charter                                            Apparel Coalition                                             Planet Program
for Climate Action                                          A global member-based industry organization moving            An environmental nonprofit that works with forestry
                                                            the apparel, footwear, and textile industries toward          customers and suppliers to protect endangered forests.
Whose signatories work together to reduce carbon            environmental and social sustainability through
emissions across the fashion and broader textile sectors.   collaborative impact measurement and reduction.




The Climate                                                 Textile                                                       The Microfiber
Group’s RE100                                               Exchange                                                      Consortium




                                                                                                                                                                                   B E P L A NE T.
A global partnership of influential businesses committed    A global nonprofit helping to drive industry transformation   Which develops practical solutions for the textile
to 100 percent renewable electricity.                       in preferred fibres, integrity, and standards.                industry to minimize fibre fragmentation and release
                                                                                                                          into the environment.
                                                                                                                                                                                   39
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                                                                                                               LULUL E M O N 2020 I M PACT AGENDA
                                         WE ’RE ALL IN


                                         As we brought together the strategies and elements of our
                                         Impact Agenda, our excitement and enthusiasm about its
                                         possibilities and opportunities have continued to grow. With a
                                         clear and realistic understanding of the global challenges we’re
                                         facing, we’re laying out work that’s aspirational and motivating.

                                         At lululemon, we know we’re connected with each other and our
                                         planet, and our aim is to inspire positive change through mindful
                                         choices, innovation, and collaboration. Across our company
                                         and our collective, we’re confident in our commitments and our
                                         capacity to make a difference. We believe in an exchange of ideas
                                         to continue to learn and enhance our solutions—and to share
                                         our progress.

                                         Real change happens together, through collective action, and
                                         we appreciate you taking the time to read our impact agenda.
                                         In this moment, we see possibility within each of us to reflect




                                                                                                               SUM M A RY
                                         on our priorities and evolve our strategies. Now is the time to act
                                         boldly, and we’re committed to doing the necessary work to
                                         create a better future for all of us.
                                                                                                               40
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E N D N OT E S




                                                                                                                          LULUL E M O N 2020 I M PACT AGENDA
1   Our collective consists of lululemon’s employees,       7  Renewables: materials that have the natural ability
     guests, ambassadors, makers, and Here to Be partners.       to be renewed frequently within a set period of time
                                                                 and have been vetted for responsible production and
2  Employee demographics will be tracked through                processing.
    voluntary annual surveys.
                                                                  Recycling: making regenerated raw materials for new
3  Kelly McGonigal, The Joy of Movement: How Exercise            products from discarded materials. Recycling includes
    Helps Us Find Happiness, Hope, Connection and                 clipping waste or garments reprocessed into new fibre
    Courage (New York: Avery, 2019).                              and/or yarn as well as regenerated raw materials that
                                                                  resemble the quality of virgin raw materials.
     Khalsa SB. Yoga for psychiatry and mental health:
     an ancient practice with modern relevance. Indian            Regeneration: producing materials using regenerative
     J Psychiatry. 2013 Jul; 55(Suppl 3):S334-6. PMID:            agriculture or grazing techniques.
     24049194.
                                                             8  “Low-resource” refers to processes that achieve
     Büssing A, Michalsen A, Khalsa SB, Telles S, Sherman        significant and measurable impact reduction, such as
     KJ. Effects of yoga on mental and physical health: a        solution-dyed nylon.
     short summary of reviews. Evid Based Complement
     Alternat Med. 2012; 2012:165410. PMID: 23008738.        9  BCI does not currently exist in our South American
                                                                 supply chain, where we’ll work toward alternative
4  Evaluation research conducted after training suggests        solutions.
    up to a 40 percent reduction in psychological risk
    factors such as anxiety and depression and a reported    10 Alexandra Freitas, Guoping Zhang, Ruth Mathews,
    increase in overall wellbeing and resilience (UN             Water Footprint Assessment of Polyester and Viscose:
    Foundation, 2019).                                           And Comparison to Cotton, Water Footprint Network,
                                                                 March 2017, https://waterfootprint.org/
5  End-of-use: solutions that extend the life of products       media/downloads/WFA_Polyester_and_Viscose_2017.pdf
    through new models such as resale, repair, and/or
    rental and create next life through recycling into       11 lululemon is a high-growth company and used the
    new materials and products.                                  GEVA (greenhouse gas emissions per unit of value
                                                                 added) method to set an economic intensity target
6  “What Is the Circular Economy?,” Ellen MacArthur             based on a unit of value added (earnings from
    Foundation, accessed July 2020, https://                     operations).
    www.ellenmacarthurfoundation.org/circular-economy/
    what-is-the-circular-economy




                                                                                                                          END NOT E S
       We welcome your thoughts and ongoing dialogue
       as we continue our impact work. Email us at:
       sustainability@lululemon.com

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This Impact Agenda and any related information we share contains statements                and uncertainties that could cause actual results to differ materially from those        our information systems; our ability to have technology-based systems function
concerning our commitments, goals and future plans relating to our social and              described in the forward-looking statements. These risks and uncertainties include,      effectively and grow our e-commerce business globally; changes in consumer
environmental impact strategy that are forward-looking statements within the               but are not limited to, our ability to maintain the value and reputation of our brand;   shopping preferences and shifts in distribution channels; the fluctuating costs of
meaning of the “safe harbor” provisions of the Private Securities Litigation Reform        the acceptability of our products to our guests; the current COVID-19 coronavirus        raw materials; global economic and political conditions and global events such as
Act of 1995 including, but not limited to, statements related to our goals and efforts     pandemic and related government, private sector, and individual consumer                 health pandemics; our ability to deliver our products to the market and to meet
to create an environment that is equitable, inclusive and fosters growth, to our           responsive actions; our highly competitive market and increasing competition;            guest expectations if we have problems with our distribution system; our ability
goals and efforts to contribute to conditions that support mental, physical and            our reliance on and limited control over third-party suppliers to provide fabrics for    to manage our growth and the increased complexity of our business effectively;
social wellbeing, and to our goals and efforts to minimize impact and contribute           and to produce our products; suppliers or manufacturers not complying with our           seasonality; fluctuations in foreign currency exchange rates; conflicting trademarks
to restoring a healthy environment, and other goals and commitments described              Vendor Code of Ethics or applicable laws; the operations of many of our suppliers        and the prevention of sale of certain products; our exposure to various types of
in the Impact Agenda. Forward-looking statements are generally identified by               are subject to international and other risks; an economic downturn or economic           litigation; actions of activist stockholders; and others described from time to time
words such as “goal,” “believe,” “aspire,” “expect,” “commitment,” “strategy,” “future,”   uncertainty in our key markets; increasing product costs and decreasing selling          in our other public statements, reports, registration statements, prospectuses,
“opportunity,” “will,” and similar words and expressions. Forward-looking statements       prices; our ability to anticipate consumer preferences and successfully develop and      information statements and other filings with the SEC. Forward-looking statements
are based on our expectations, plans, strategies and assumptions as of the original        introduce new, innovative and updated products; our ability to accurately forecast       speak only as of the date they are made, and we undertake no obligation to
date of the Impact Agenda. The realization of our goals, expectations, plans and           guest demand for our products; our ability to safeguard against security breaches        publicly update or revise any forward-looking statements, whether because of new
strategies, and the accuracy of our assumptions, are subject to a number of risks          with respect to our information technology systems; any material disruption of           information, future events, or otherwise.
